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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS




IN THE MATTER OF                   )
THE EXTRADITION OF                 )                   No. 24-mj-01365-DLC
T.C.                               )


           REPLY TO GOVERNMENT’S RESPONSE TO
SECOND EMERGENCY MOTION TO RECONSIDER ORDER DENYING RELEASE
                   LEAVE TO FILE GRANTED ON JULY 24, 2024

         Now comes the Juvenile T.C. who replies to the Government’s Response to his

Second Emergency Motion to Reconsider Order Denying Release due to Serious Assault

on the Juvenile in the Custody of Newark NJ and Refusal by Manson to Take Custody.

Specifically, the Juvenile provides the following supplemental facts and circumstances

that are relevant to the Court’s Determination of the Motion:

  Supplemental Facts Supporting T.C.’s Motion for Release from Detention

         1. T.C. has now secured GPS monitoring services provided by SCRAM, which is

  the largest provider of such services and has for decades contracted with probation

  and parole departments in every state and uses the latest technology to monitor pre-

  trial and post conviction defendants. The Juvenile proposes that he would agree to be

  fitted with SCRAM’s GPS monitoring device upon discharge from Newark NJ’s Youth

  Detention Center, would agree to home confinement and/or other restrictions or-

  dered by the Court — such as release for work at a fixed location that could be verified

  by GPS monitoring with a curfew requiring that he be at the residence of his relatives,

  and would agree to have all GPS tracking information conveyed to the U.S Attorney’s

  Office and/or the United States Marshals’ Office. The services would be paid for pri-
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vately by T.C’s family via a contract with SCRAM. A copy of the proposed contract is

attached at Exhibit A.

      2. T.C. has been accepted into ROCA, a community based program that em-

ploys trauma-informed services to a diverse population of at-risk young men and

women, and partners with community organizations including police, probation and

parole departments, medical and educational institutions, and providers of psycho-

logical services. ROCA is highly regarded by its criminal justice partners within the

communities it serves. Molly Baldwin, ROCA’s Founder and Chief Executive Officer,

is fully apprised of T.C.’s circumstances and will provide him with in-home casework-

er services, assist him with therapeutic and educational services, and engage him in

other services as deemed appropriate. T.C. would agree to sign whatever releases the

Court deems necessary for oversight by the AUSA and/or the US Marshals as to T.C.’s

compliance. Information pertaining to ROCA can be found here: https://rocainc.org.

      3. T.C. has a close relationship with his local aunt and uncle, with whom he

would reside if released. This relationship is referenced in T.C.’s letter to the Court,

Ex. B, attached to T.C.'s first emergency motion. Moreover, undersigned counsel Vic-

toria Kelleher (“undersigned counsel") has spoken almost daily with his aunt, who has

demonstrated deep concern for T.C.’s welfare based on her and her husband's rela-

tionship with him. Undersigned counsel is aware that as a young child T.C. visited his

aunt and uncle in the United States. His aunt and uncle also visited T.C. in Turkey

during his childhood. Since T.C. was most recently brought to the United States by his

mother, T.C. visited with his aunt and uncle on several occasions, and his aunt assist-

ed with his medical care including for his skin condition and his dental care. Both
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T.C.'s aunt and uncle have made the long drive to visit with him, first in Connecticut

and then in New Jersey. Should the Court release T.C. to his aunt's care, she is willing

to become his legal guardian. She is also willing to write an affidavit (under seal) de-

tailing her relationship with T.C. and her commitment to ensuring that T.C. abides by

any and all conditions set by the Court and would along with T.C.s uncle undertake

responsibilities as a third party trustee/de facto guardian ad litem to report any non-

conformity with the conditions of release if ordered to the US Marshals or US Attor-

ney.

       4. The government asserts that T.C. was moved from Manson Youth Institute

in Connecticut (“Manson”) to the Newark Detention Center in New Jersey (“Newark”)

largely due to allegations he made in court filings. These allegations were based on the

unlawful use of solitary confinement and the violations of his right to privacy as a ju-

venile whereby Manson released a photograph of him in prison garb to the press,

along with personally identifying information. As a result of what T.C.'s counsel be-

lieves were lawful filings, Manson retaliated against T.C. by way of transfer to

Newark, which took him away from enrolled programs and the relationship he had

established with his caseworker, and placed him even further from his counsel and his

family.

       5. The government asserts that Newark’s policy of housing 18-21 year olds is

similar to that of Mass. DYS. Significant differences exist, however, where Mass DYS

places 18-21 year olds in separate units than those under 18, as required by state and

federal law. Newark, however, places them on the same unit where Timur is held, thus

exposing a juvenile just weeks into his 17th year to convicted offenders two, three, and
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nearly four years older. This practice violates the law and places juveniles in a facility

that has proven dangerous to T.C..

       6. The government asserts that T.C.’s counsel can utilize Zoom for attorney

calls on the weekend. In fact, no visits or calls are permissible for attorneys or other

visitors on Sunday. Undersigned counsel has had several calls with the Supervising

Social Worker, Ms. Jones, who has done her best to watch over T.C. given the circum-

stances he faces. However, Ms. Jones is not responsible for scheduling attorney Zoom

calls. Scheduling occurs through the secretary, and counsel’s prior attempts to set up

Zoom meetings for T.C. and his father were unsuccessful without counsel’s presence.

       7. The government asserts that residents said T.C. was arguing with other kids

for using the phone too long. Undesigned counsel spoke with Supervisor Jones on

July 19th, the day following the assault on T.C. regarding the circumstances of the as-

sualt. Supervisor Jones read to undersigned counsel from the internal staff report of

the incident. The report reflects that T.C. asked if he could use the phone, and was

thereafter violently assaulted from behind. At no time was he argumentative with ei-

ther staff or any other juvenile. Supervisor Jones again confirmed the sequence of

events to undersigned counsel after review of the Government’s response to T.C.’s

emergency motion. Any suggestion that T.C. somehow provoked a violent assault by

three older juveniles who attacked him from behind is unwarranted and unfair.

       8. Given all of the above, T.C. moves that he be released from detention in or-

der to avoid physical assault, psychological trauma, isolation from family, and dis-

tance from counsel, all of which constitute “special circumstances” given that T.C. has

not been held in an appropriate facility since his first appearance before Your Honor.
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  He will abide by all conditions set by the Court, including GPS monitoring, home con-

  finement, enrollment in ROCA, educational and/or employment services, mental

  health treatment, and signed waivers for release of information to the US Marshals

  and/or the US Attorney's office.

  Supplemental Facts Supporting T.C.’s motion to Transfer to Mass. DYS

         9. The government asserts that an unknown Deputy Marshal attempted to

  contact Massachusetts Department of Youth Service (“Mass. DYS” or “DYS”) on prior

  unknown dates by calling a number on DYS’ website that connected to a Regional De-

  tention Center in Dorchester, as opposed to calling the main administrative office for

  DYS on Washington Street in Boston. On July 10, 2024 undersigned counsel provided

  the government with confirmation from Commissioner Reardon that DYS was pre-

  pared to accept T.C., and separately provided the government with contact informa-

  tion for Mass. DYS General Counsel. This information was conveyed by the govern-

  ment to the U.S. Marshals the same day, as confirmed by email. As recently as July

  19th, the Commissioner reported that neither she, the chief financial officer, nor DYS

  General Counsel had heard from the Marshals’ Office concerning T.C.'s placement or

  the cost of such services.

         10. The government asserts that the cost differential between housing a juve-

  nile at Mass. DYS and a juvenile at either Manson or Newark N.J. is $400/day com-

  pared to $120/day.1 This argument places the cost of services over the safety and se-

1 The government previously asserted that the Marshals had decided to make contracts

with Connecticut and New Jersey because those states were willing to make annual con-
tracts rather than to require a daily fee, as was the case with Massachusetts. If so, that
would mean that the Marshals were actually paying $43,800 for the year, whether or
not they detain any juveniles during that time period. Of note, the current cost for Mass-
achusetts DYS services has not been ascertained by the Marshals since 2018.
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curity of the child, a concern which is not theoretical but has been demonstrated —

first at Manson, where they unlawfully violated T.C.’s rights then retaliated against

him for voicing concerns, and then at Newark N.J., where T.C. was assaulted and

beaten, and stands to be returned to general population (given that the facility has no

protective custody according to the Government’s last filing) where he is vulnerable to

being assaulted again. The government’s argument fails to take into account the un-

suitability of the conditions of his confinement in Newark’s maximum security re-

gional detention center given T.C.’s lack of criminal history, lack of exposure to vio-

lence generally, and his isolation from his family and his counsel. The government’s

argument further fails to take into account that the United States has an interest in

assuring Turkey (as well as other countries that may request extraditions from the

United States in the future) that our penal system is not characterized by violence but

rather by safety and that a young juvenile facing extradition will not, as a result of his

arrest in the United States, be exposed to inhumane conditions of confinement more

characteristic of those occurring in countries outside the US.

       11. Given all the above, T.C. moves that should the Court decide not to release

him as requested, that he be transferred to Mass. DYS by the Court as authorized by

18 U.S.C. § 3184.
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                                          Respectfully Submitted,

                                          T.C., a Juvenile
                                          By his attorneys,

                                          /s/ Victoria Kelleher

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                             CERTIFICATE OF SERVICE

       I hereby certify that a true copy of this document was served on all counsel of
record this day, July 23, 2024, and with the United States District Court, District of
Massachusetts, 1 Courthouse Way, Boston, 02210.


                                                 /s/ Victoria Kelleher


                                                 Victoria Kelleher
